                  Case 1:09-cr-00272-DAD-BAM Document 351 Filed 05/04/15 Page 1 of 1
 AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Eastern District
                                                       __________ Districtofof
                                                                            California
                                                                               __________

                     United States of America
                                v.                                          )
                     JOSE BUSTOS-VARGAS                                     )
                                                                            )    Case No: 1:09-cr-00272-AWI-BAM-15
                                                                            )    USM No: 64587-097
 Date of Original Judgment:                            08/27/2012           )
 Date of Previous Amended Judgment:                                         )    David M. Porter, Assistant Federal Defender
 (Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
         Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
 § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
 subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
 § 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
 and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
 IT IS ORDERED that the motion is:
            u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
 the last judgment issued) of   87                      months is reduced to 70**                                 .
                                              (Complete Parts I and II of Page 2 when motion is granted)

**If this sentence is less than the amount of time the defendant has already served as of November 1, 2015, the sentence is
reduced to a time served sentence.




 Except as otherwise provided, all provisions of the judgment dated                          08/29/2012              shall remain in effect.
 IT IS SO ORDERED.

 Order Date:                  05/04/2015                                                         /s/ ANTHONY W. ISHII
                                                                                                          Judge’s signature


 Effective Date:              11/01/2015                                                 Hon. Anthony W. Ishii, District Judge
                      (if different from order date)                                                    Printed name and title
